Case 2:05-cr-20141-SH|\/| Document 16 Filed 06/10/05 Page 1 of 2 Page|D 17

lN THE UN|TED STATES DlSTRlCT COURT Flf_ED _¢;L,
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W'D Or'1' i*“" P"S`f? cr
UN|TED STATES OF ANIER|CA N' lfish/abi1’1.‘£,"
P|aintiff,
VS. CR. NO. 05-20141-Ma

R|CKEY HA|ViPTON
Defendant.

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ORDER ON CHANGE OF PLEA
AND SETT|NG

 

This cause came on to be heard on June 10, 2005, the United States Attorney for
this district, Greg Gi|lu|y, appearing for the Government and the defendant, Rickey
l-|ampton, appearing in person and with counsei, Pame|a Hamrin, Who represented the
defendant

With leave of the Court, the defendant withdrew the not guilty plea heretofore
entered and entered a plea of guilty to Count 1 of the |ndictment.

P|ea colloquy was held and the Court accepted the guilty plea.

SENTENCING in this case is SET for TUESDAY, SEPTEMBER 13, 2005, at
9:00 A.M., before Judge Samue| H. Mays, Jr.

Defendant is remanded to the custody ofthe U. S. l\/larsha|.

ENTERED this the L‘j"uay of June, 2005.

MM~

SAMUEL H. MAYS, JR.
UN|TED STATES DlSTRICT COURT

 

This dochent entered on the docket sheet in compliance
with Fl.i|e 55 and/or 32lbl FRCrP on " "

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Pamela B. Hamrin

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Honorable Samuel Mays
US DISTRICT COURT

